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IN THE UNITED sTATEs DIsTRIcT cotm'r
FoR THE WESTER.N DISTRICT oF TENNESSEE 05 JUL 12 PH 5= 38
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JANICE L. SHIRLEY,
Plaintiff,
No. 04-2555 Ma/An

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UNITED STATES DEPARTMENT OF
TRANSPORTATION,

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Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO DISMISS AND DISMISSING
PLAINTIFF'S SUIT

 

Before the court is defendant United States'1 January 4, 2005,
motion to dismiss under Federal Rule of Civil Procedure 12(b)(l)
for lack of subject matter jurisdiction. Plaintiff Janice L.
Shirley (“Shirley”) filed a response on July 1, 2005. For the
following reasons, the court GRANTS Defendant's motion to dismiss
and DISMISSES Plaintiff's suit.

I. Background

This case arises from injuries Shirley sustained in a car
accident. (Compl. at 1 14.) The following material facts are taken
from the Complaint. On April 11, 2002, Austin D. Martin (“Martin”)
was driving a tractor-trailer north on Interstate-BB in Shelby

County, Tennessee. (Id. at I 9.) Martin approached an overpass

 

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The United States argues that the proper defendant in this suit is the
United States, not the Department of Transportation. (Def. 's Mem. in Supp. at 5.)

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marked by a United States Department of Transportation sign
indicating that the clearance was 13 feet. (Id. at j 14.) Because
Martin’s tractor-trailer was 13 feet 6 inches tall, he stopped on
the highway to avoid hitting the overpass. (Id. at 1 12.) Shirley,
who was driving her 1994 Toyota 4 Runner behind Martin, ran into
Martin's tractor-trailer and sustained serious injuries. (Id. at jj
9, 16.) The overpass was in fact more than 13 feet high, and Martin
was later able to drive his tractor-trailer under the overpass.
(Id. at j 14.)

Shirley sued Martin and his employer, V.O. Trucking, Inc.
(“V.O. Trucking”), in the Circuit Court of Shelby County, Tennessee
for the Thirtieth Judicial District at Memphis on March 14, 2003.
(Id. at j 1.) In their Amended Answer to Shirley's Complaint,
Martin and V.O. Trucking alleged that the United States Department
of Transportation was responsible for the collision because the
overpass height had not been marked correctly. (Id. at 1 3.) Upon
learning that the Department of Transportation's negligence might
have been a proximate cause of her injuries, Shirley filed suit
against the Department of Transportation in Federal Court.

II. Jurisdiction

“Where subject matter jurisdiction is challenged under [Fed.
R. Civ. P.] (lZ)(b)(l), ... the plaintiff has the burden of proving
jurisdiction in order to survive the motion.” Rogers v. Stratton

Indus., 798 F.2d 913, 915 (6th Cir. 1986). In the context of a Rule

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l2(b)(1) motion, “[a] court may dismiss a complaint only if it is
clear that no relief could be granted under any set of facts that
could be proved consistent with the allegations.” Hishon v. King &
Spaulding, 467 U.S. 69, 73 (1984). Thus, a Rule 12(b)(1) motion to
dismiss will be granted only if, taking as true all facts alleged
by the Plaintiff, the court is without subject matter jurisdiction.

Because Shirley's claim is for a tort allegedly committed by
officers of the federal government within the scope of their
employment, the only basis for federal subject matter jurisdiction
is the Federal Tort Claims Act, 28 U.S.C. §§ 1246(b), 2671 §§ _s_,gg4
(“FTCA”), which waives the United States' immunity from suit under
certain circumstances.2

The FTCA provides that an “action shall not be instituted upon
a claim against the United States for money damages” unless the
plaintiff first exhausts the required administrative remedies.
McNeil v. United States, 508 U.S. 106, 112 (1993) (quoting 28
U.S.C. § 2675(a)). Courts applying this provision have found that
it unambiguously bars the institution of an action under the FTCA
before the exhaustion of administrative remedies. ldé; Schaffer ex
rel. Schaffer v. A.O. Smith Corp., No. 91-07367, 1994 WL 520853, at
*3 (6th Cir. Sept. 21, 1994) (“[E]xhaustion is a necessary

prerequisite to the invocation of federal jurisdiction that is

 

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Shirley's Complaint does not state the statutory basis for her complaint
or for federal jurisdiction.

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intended to reduce the number of suits that ever actually proceed
to the federal courts.”) To establish the court's jurisdiction
under the FTCA, a plaintiff must allege in her complaint that she
has filed an administrative claim. See Joelson v. United States, 86
F.3d 1413, 1422 (6th Cir. 1996) (affirming district court dismissal
of FTCA complaint, because plaintiff failed to allege that he
exhausted administrative remedies).

Shirley acknowledges that she has not exhausted administrative
remedies as required by 28 U.S.C. § 2675(a). (Pl.’s Resp. at 2.)
Because a plaintiff cannot bring an action under the FTCA before
such exhaustion, the court does not have subject matter
jurisdiction. Shirley, however, argues that her suit should not be
dismissed because she recognized the government's potential
liability for her injuries only when V.O. Trucking and Martin filed
their Amended Answer in the state court case, after the two-year
statue of limitations on her negligence action had run. (Pl.’s
Resp. at 2.) In support of her argument, Shirley cites Tenn. Code
Ann. § 20-1-119(a)(2) which states:

[I]f a defendant named in an original [or amended]

complaint ... alleges in an answer or amended answer to

the original or amended complaint that a person not a

party to the suit caused or contributed to the injury or

damage for which the plaintiff seeks recovery, and if the
plaintiff's cause or causes of action against such person
would be barred by any applicable statute of limitations

but for the operation of this section, the plaintiff may

. [i]nstitute a separate action against that person by

filing a summons and complaint.

Shirley's argument does not address her failure to exhaust the

administrative remedies requirement of the FTCA.before bringing her

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claim against the government. lt is clear from the plain language
of Tenn. Code Ann. § 20-1-119(a)(2) that it does not address the
ability of a plaintiff to sue the Federal Government when the
plaintiff has not complied with the procedural requirements of the
FTCA. Tenn. Code Ann. § 20-1-119(a)(2) simply permits a plaintiff,
under certain Circumstances, to sue a defendant after the
applicable statute of limitations has expired.

The court is not free to ignore the procedural requirements of
the FTCA on equitable grounds. Courts must strictly construe all
waivers of sovereign immunity and resolve all ambiguities in favor
of the sovereign. gee United States v. Nordic Villagel Inc., 503
U.S. 30, 33 (1992). Shirley has not complied with the procedural
requirements of the FTCA. Consequently, the court GRANTS the
government’s l2(b)(1) motion to dismiss.

III. Conclusion
For the foregoing reasons, Defendant's motion to dismiss is

GRANTED and Plaintiff’s suit is DISMISSED.

so 0RDERED this H¥\day of July 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

